                                                                                  Motion GRANTED.



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION




 BellSouth Telecommunications, LLC d/b/a
 AT&T Tennessee,
                                                       Case No. 3:16-cv-2509 (Lead Case)
                        Plaintiff,
                                                       Judge Trauger
        v.

 Metropolitan Government of Nashville and
 Davidson County, et al.,

                        Defendants.



 Comcast of Nashville I, LLC,

                        Plaintiff,                     Case No. 3:16-cv-2794 (Member Case)

        v.                                             Judge Trauger


 Metropolitan Government of Nashville and
 Davidson County, et al.,

                        Defendants.




              Plaintiffs’ Unopposed Motion For The Entry Of Final Judgment
                                and Permanent Injunction

       Plaintiffs Comcast of Nashville I, LLC (“Comcast”) and BellSouth Telecommunications,

LLC d/b/a AT&T Tennessee (“AT&T”) (collectively “Plaintiffs”) hereby move the Court to enter

final judgment and a permanent injunction in this matter, pursuant to the Court’s order of

November 21, 2017 (Doc. No. 108) (the “November 21 Order”). A form of proposed judgment

and injunction is submitted herewith. In support of this motion, Plaintiffs state as follows:




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